   Case 2:12-cv-00859-LMA-MBN Document 1161 Filed 04/20/18 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                       CIVIL ACTION NO. 12-859
                                            C/W 12-138

VERSUS                                       SECTION “I” (1)

MARLIN GUSMAN, ET AL.                       REF: 12-859




               IT IS ORDERED that an in-court hearing with the parties,

monitors, and the compliance director is scheduled on Wednesday,

June     13,     2018    at   8:30   A.M.   before      the   undersigned.

               New Orleans, Louisiana this 20th day of April, 2018.




                                       LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE
